           Case 1:12-cv-01212-JTC Document 11 Filed 09/02/13 Page 1 of 6




                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NEW YORK



                                  )
AMANDA STONE,                     )
                                  )
         Plaintiff,               )                    Civil Action No. 1:12-cv-01212-JTC
                                  )
v.                                )
                                  )
                                  )
TAKHAR COLLECTION SERVICES, LTD.; )
FINANCIAL DEBT RECOVERY LIMITED; )
                                  )
F.D.R. CREDIT RECOVERY LTD;       )
HARDIAL S. TAKHAR;                )
SUKCHARN S. TAKHAR; and           )
DOE,                              )
                                  )
         Defendants.              )
_________________________________________


                             FIRST AMENDED COMPLAINT

                                    (Jury Trial Demanded)

      1.      Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15 U.S.C.

1692 et seq. (“FDCPA”).



                               JURISDICTION AND VENUE




                                                1
            Case 1:12-cv-01212-JTC Document 11 Filed 09/02/13 Page 2 of 6




       2.      This Court exercises jurisdiction under 15 U.S.C. 1692k and 28 U.S.C. 1331.

This District is of proper venue as Defendants are residents within this District and Defendants

engaged in the activities alleged herein while so residing.



                                            PARTIES

       3.      Plaintiff, AMANDA STONE (hereinafter “Ms. Stone” or “Plaintiff”), is a natural

person residing in Houston, Texas. Defendant, TAKHAR COLLECTION SERVICES, LTD.

(hereinafter “Defendant”) is a limited liability company believed to maintain its principle place

of business at 1623 Military Road, Suite 537 in Niagara Falls, New York. FINANCIAL DEBT

RECOVERY LIMITED is a corporation believed to maintain its principal executive office at 40

West Wilmot Street, Unit 10, Richmond Hill, Ontario, Canada. Financial Debt Recovery

Limited is believed to operate in the United States as F.D.R. CREDIT RECOVERY LTD, a New

York corporation. Financial Debt Recovery Limited acquired Takhar Collection Services, LTD

and expressly assumed responsibility for Takhar Collection Services, LTD operations and

liabilities. Plaintiff thereon believes and alleges that Financial Debt Recovery Limited is

responsible to Plaintiff for damages and monies owed arising from the activities of Takhar

Collection Services, LTD. HARDIAL S. TAKHAR is a natural person who operated as the

president and co-owner of Takhar Collection Services, LTD at the time of the activities alleged

herein. SUKCHARN S. TAKHAR is a natural person who is believed to be the former vice-

president and co-owner of Takhar Collection Services, LTD at the time of the activities alleged

herein. Hardial S. Takhar and Sukcharn S. Takhar (collectively the “Takhar brothers”) are

believed to have been responsible for the debt collection procedures and practices of Takhar



                                                 2
            Case 1:12-cv-01212-JTC Document 11 Filed 09/02/13 Page 3 of 6




Collection Services, LTD at the time of the activities alleged herein. The Takhar brothers are

believed to have concealed the true extent of Takhar Collection Services, LTD’s liabilities and

ongoing litigation in its sale to Financial Debt Recovery Limited. Plaintiff thereon believes and

alleges that Hardial S. Takhar and Sukcharn S. Takhar are responsible for the activities alleged

herein and fraudulently sold their company to escape liability for damages and monies owed.

Plaintiff is ignorant of the true name and capacity of the defendant sued herein as DOE, and

therefore sues this defendant by such fictitious name. Plaintiff will amend this Complaint to

allege the true name and capacity once ascertained. Plaintiff believes and thereon alleges that the

fictitiously named defendant is responsible in some manner for the occurrences herein alleged,

and that such defendant is responsible to Plaintiff for damages and/or monies owed. Defendants

TAKHAR COLLECTION SERVICES, LTD., FINANCIAL DEBT RECOVERY LIMITED,

F.D.R. CREDIT RECOVERY LTD, HARDIAL S. TAKHAR, SUKCHARN S. TAKHAR and

DOE shall be jointly referred to herein as “Defendants”.

       4.      Defendants regularly operate as third-party debt collectors and are “debt

collectors” as defined in 15 U.S.C. 1692a.



                                 FACTUAL ALLEGATIONS

       5.      In approximately September of 2011 Defendants began contacting Ms. Stone at

her work telephone number in an attempt to collect a consumer debt (hereinafter “DEBT”)

alleged owed by Ms. Stone.




                                                3
            Case 1:12-cv-01212-JTC Document 11 Filed 09/02/13 Page 4 of 6




       6.       Despite Ms. Stone having advised Defendants on several occasions of a

prohibition on taking personal calls at her work number, Defendants continued to call her at

work through December 7, 2011.

       7.      Ms. Stone, harassed and unable to terminate the calls to her work number,

retained counsel with Robert Amador of Centennial Law Offices.

       8.      Mr. Amador attempted to contact Defendants by telephone on nine separate

occasions. Defendants failed to answer the calls on each attempt. Defendants’ voicemail system

informed callers that Defendants’ voicemail box was full. Finally on December 8, 2011 Mr.

Amador was able to communicate with Defendant Takhar Collection Services, Ltd. to

successfully terminate the calls.



                                     CAUSES OF ACTION

                                            COUNT I

       9.      Plaintiff re-alleges paragraphs 1 through 8, inclusive, and by this reference

incorporate the same as though fully set forth herein. Plaintiff is informed and believes and

herein alleges that Defendants violated 15 U.S.C. 1692c(a)1 and 1692c(a)3 with regards to

Plaintiff by continuing to call Plaintiff at her place of employment after being informed that such

calls to Plaintiff’s work number were prohibited.



                                           COUNT II

       10.     Plaintiff re-alleges paragraphs 1 through 8, inclusive, and by this reference

incorporate the same as though fully set forth herein. Plaintiff is informed and believes and



                                                 4
          Case 1:12-cv-01212-JTC Document 11 Filed 09/02/13 Page 5 of 6




herein alleges that Defendants violated 15 U.S.C. 1692d by continuing to call Plaintiff at her

place of employment after being informed that such calls to Plaintiff’s work number were

prohibited.



                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays judgment against Defendant for recovery as follows:

       1.) For statutory damages in the amount of $1,000 pursuant to 15 U.S.C. 1692k(2);

       2.) For actual damages of $1,855.00 for legal costs in responding to unlawful collection

       activity.

       3.) For prejudgment interest in an amount to be proved at time of trial;

       4.) For attorney’s fees pursuant to 15 U.S.C. 1692(k)

       5.) For the costs of this lawsuit; and

       6.) For any other and further relief that the court considers proper.



                                         JURY DEMAND



       Plaintiff demands a jury trial.



Date: August 29, 2013                            s/Robert Amador
                                                 _______________________________________
                                                 ROBERT AMADOR, ESQ.
                                                 Attorney for Plaintiff Amanda Stone
                                                 Centennial Law Offices
                                                 9452 Telephone Rd. 156
                                                 Ventura, CA. 93004
                                                 (888)308-1119 ext. 11


                                                 5
Case 1:12-cv-01212-JTC Document 11 Filed 09/02/13 Page 6 of 6




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